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                                                                      UNREDACTED VERSION
April 3, 2020                                                          FILED UNDER SEAL



VIA ECF

The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 4GN
Brooklyn, NY 11201


Re:      United States v. Huawei Technologies Co., Ltd., et al., 18 CR 457 (S-3) (AMD);
         Application to Discuss Discovery Materials with Witness

Dear Judge Donnelly:

       Huawei Technologies Co., Ltd., Huawei Device USA Inc., Huawei Device Co., Ltd., and
Futurewei Technologies, Inc. (collectively, “Huawei”), respectfully seek the Court’s authorization,
pursuant to the protective order entered by the Court on June 10, 2019 (“Protective Order”), see
ECF No. 57, to discuss the Discovery Materials on a limited basis with co-defendant Meng
Wanzhou.

        Under the Protective Order, Huawei is generally authorized to review discovery with its
own employees or with potential witnesses. Those provisions safeguard Huawei’s constitutional
right to prepare its defense. The discovery in this case concerns conduct stretching back 21 years
and already encompasses nearly one million documents, with more discovery still to be produced.
If Defense Counsel were barred from discussing those documents with knowledgeable witnesses,
it would cripple Huawei’s ability to investigate and rebut the government’s allegations.1

       That proposition should be uncontroversial, yet in negotiating the Protective Order, the
government insisted on carving out for a future day Huawei’s ability to discuss discovery materials
with the Huawei officer who figures most prominently in the events charged in the Indictment,
Huawei Chief Financial Officer (“CFO”) Meng Wanzhou. Absent those restrictions, Ms. Meng

1
    All capitalized terms have the same meaning as in the Protective Order.
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likely would have been among the very first Huawei officers with whom Defense Counsel would
have sought to discuss discovery. The Indictment alleges that Huawei is guilty of fraud because
in 2013 Ms. Meng, acting as CFO, supposedly misled HSBC about Huawei’s relationship to an
entity called Skycom.2 Other counts of the Indictment allege that Huawei conspired with Ms.
Meng to defraud multiple banks by lying about Huawei’s connections to Skycom. Ms. Meng is
the only Huawei officer mentioned by name in the Indictment, and she is mentioned no fewer than
17 times.

        After diligent efforts that lasted the better part of a year, Huawei and the government have
failed to reach agreement on the company’s ability to review discovery materials with its CFO.
Instead, the government agreed that Huawei and Ms. Meng could discuss a total of approximately
     documents, and could do so only pursuant to extreme security measures reminiscent of
terrorism or gangland retaliation cases. The government’s principal explanation, however, is not
that the materials are sensitive—the government has refused to permit discussion of essentially
every document it has produced, and not just those documents meeting the government’s
indefensibly low bar for “Sensitive Discovery Material.” Rather, the government contends that
Ms. Meng is not entitled to view the discovery because, after she was seized at the airport by
Canadian officials at the request of the U.S. government, she chose to exercise her rights under the
Canadian Constitution and Canadian law.

        The government’s argument is a non sequitur. Ms. Meng’s rights—whatever they are—
are not at issue in this Application. Huawei is seeking to vindicate its own right to discuss the
evidence with an essential witness. Huawei’s right to prepare its defense cannot be diminished
because a co-defendant is challenging legal positions taken by the United States in another court.
The burden is on the government to demonstrate good cause to restrict Huawei’s ability to discuss
discovery with Ms. Meng. It has not done so because there is no good reason to deprive Huawei
of its abilty to defend itself by barring Huawei from discussing the government’s evidence with
the Huawei official whose alleged actions are the basis of much of the government’s claims against
Huawei. The government’s concerns are also baseless because Ms. Meng’s Canadian counsel
could be barred from reviewing any discovery provided or using that discovery in a Canadian
proceeding, just as they have been with respect to the             documents that the government
has allowed Huawei to share with Ms. Meng. The Court should therefore order that Huawei may
discuss discovery produced by the government with Ms. Meng in order to prepare Huawei’s
defense. Huawei respectfully requests oral argument on this Application.




2
 All references to the Indictment refer to the Third Superseding Indictment unsealed on February
13, 2020. See ECF No. 126.
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                                       BACKGROUND

       A. The Indictment, Ms. Meng, And The Extradition Proceedings.

       Ms. Meng has been the CFO of Huawei since 2010. She is also the daughter of Huawei’s
founder and CEO, Ren Zhengfei. The Indictment alleges that she and Huawei conspired to mislead
multiple banks between 2007 and 2015 about Huawei’s relationship with Skycom, a company
operating in Iran and for which Ms. Meng publicly served as a Director. Indictment ¶¶ 5, 99-100,
103-04.

        In addition to those conspiracy counts, the Indictment appears to allege that Huawei is
vicariously liable for a fraudulent scheme that Ms. Meng supposedly carried out against HSBC.
Id. ¶¶ 105-06, 109-10. According to the Indictment, in 2013, Ms. Meng personally presented a
PowerPoint presentation to HSBC containing false information about Huawei’s relationship with
Skycom, as part of a criminal effort to continue to obtain commercial banking services from
HSBC. Id. ¶¶ 76-79. According to the Indictment, HSBC then relied on those representations in
continuing its banking relationship with Huawei. Id. ¶¶ 71, 79.

        In addition to the charges involving the PowerPoint presentation, the Indictment contains
a number of other allegations of financial wrongdoing by Huawei during Ms. Meng’s tenure as
CFO, or concerning Skycom. For example, it alleges that several years later, Huawei personnel
were dishonest with other banks about the reason Huawei no longer had a banking relationship
with HSBC; that it made and conspired to make illegal dollar-denominated payments; and that it
illegally employed and conspired to employ a U.S. citizen in Iran. Id. ¶¶ 1-5, 64-86, 107-08, 114-
26.

        On December 1, 2018, Ms. Meng, a Chinese citizen, was arrested by Canadian authorities
in Vancouver International Airport while transferring between flights en route to a conference in
Mexico. The arrest was made pursuant to a Canadian extradition warrant issued at the request of
the U.S. Department of Justice. The Indictment was sealed at that time, and Ms. Meng had no
prior notice she was being charged with any crime.

        Extradition proceedings were initiated against Ms. Meng in the British Columbia Supreme
Court. Ms. Meng, via Canadian counsel, has challenged her arrest and extradition as unlawful on
Canadian constitutional and treaty-based grounds. In December 2019, the Canadian Supreme
Court found that Ms. Meng’s objections to extradition were substantial enough to warrant
compelling the Canadian authorities to make additional disclosure and require a hearing. See
Reuters, Huawei’s CFO Wins Canada Court Fight To See More Documents On Her Arrest (Dec.
10, 2019), https://www.reuters.com/article/us-usa-huawei-tech-canada/huaweis-cfo-wins-canada-
court-fight-to-see-more-documents-on-her-arrest-idUSKBN1YE2NW.
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        B. The June 10, 2019 Protective Order

         On June 10, 2019, the Court entered the Protective Order that generally governs the use of
discovery in this case. As relevant here, the Protective Order allows Defense Counsel to discuss
Discovery Materials with Huawei’s own officers and directors, Huawei employees needed to assist
in the defense, and other potential witnesses. Protective Order ¶¶ 1 n.1, 5. At the time the
Protective Order was negotiated, however, the government refused to stipulate to any order
permitting Defense Counsel to discuss any of its evidence, in any circumstance, with Ms. Meng.
The Protective Order thus contains a carve-out stating that the parties would negotiate such terms
at a later time:

        Without waiving any future rights or arguments, the parties will promptly seek to
        negotiate, in good faith, a separate agreement governing disclosure of Discovery
        Materials to co-defendant Wanzhou Meng and her counsel. Pending such
        agreement or further order of the Court, notwithstanding any other provision in this
        Protective Order, no Discovery Materials shall be disclosed to co-defendant Meng
        or her counsel.

Id. ¶ 1 n.1.

        C. The March 12, 2020 Supplemental Protective Order

        After a period of extended negotiation, the government agreed to allow Defense Counsel
to discuss an extremely limited category of Discovery Materials (
                                                                        ) with Ms. Meng and her U.S.
counsel at Steptoe & Johnson LLP. That agreement is embodied in a March 12, 2020
Supplemental Protective Order (“SPO”), which the parties expressly agreed does not “limit[] the
right of the parties . . . to seek additional relief from the Court.” SPO at 1.

        Under the SPO, Defense Counsel may share “Agreed Discovery Materials,” consisting
solely of documents that Ms. Meng had previously sent or received herself. Even with respect to
that narrow category, the SPO strictly limits the use and handling of Agreed Discovery Materials:
all discussions must take place in the presence of Huawei’s U.S. counsel; Ms. Meng and her own
U.S. counsel are not permitted to retain any Agreed Discovery Materials; none of the Agreed
Discovery Materials (or any work product derived or prepared from the discovery) may be
discussed with Ms. Meng’s Canadian counsel representing her in the Canadian extradition
proceedings; and Agreed Discovery Materials may be used “only for the limited purpose of
assisting [Huawei] in defending itself against the charges in [this] case and any superseding
indictment,” and specifically not in Ms. Meng’s extradition proceedings in Canada. See SPO ¶¶ 4-
7.
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                                         DISCUSSION

        The government has not shown good cause to bar Huawei from discussing             of the
Discovery Materials in this case with Ms. Meng. Accordingly, this Court should hold that Huawei
is allowed to discuss Discovery Materials with Ms. Meng.3

       A. Legal Standard

         The Sixth Amendment entitles a criminal defendant to a “meaningful opportunity to
present a complete defense.” United States v. Fishenko, No. 12-CV-626, 2014 WL 5587191, at
*1 (E.D.N.Y. Nov. 3, 2014) (quoting Hawkins v. Costello, 460 F.3d 238, 243 (2d Cir. 2006)). In
preparing that defense, the defendant cannot be barred from sharing discovery with relevant
persons, absent “good cause” shown by the government. See Fed. R. Crim. P. 16; United States v.
Lindh, 198 F. Supp. 2d 739, 742 (E.D. Va. 2002) (refusing to impose blanket ban on sharing of
discovery in case involving terrorism allegations, and holding that courts must “weigh impact” of
restriction on a “defendant’s due process right to prepare and present a full defense at trial”);
United States v. Johnson, 314 F. Supp. 3d 248, 257 (D.D.C. 2018) (rejecting government’s
proposed terms in protective order that would forbid defense counsel from sharing evidence with
defendant and third parties).

        Good cause exists “where a party shows that disclosure will result in a clearly defined,
specific and serious injury.” United States v. Smith, 985 F. Supp. 2d 506, 523 (S.D.N.Y. 2013)
(quoting In re Terrorist Attacks on September 11, 2001, 454 F. Supp. 2d 220, 222 (S.D.N.Y.
2006)). “A finding of harm ‘must be based on a particular factual demonstration of potential harm,
not on conclusory statements.’” Id. (citation omitted). “Broad allegations of harm, unsubstantiated
by specific examples or articulated reasoning, do not support a good cause showing.” Pansy v.
Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994); see also Smith, 985 F. Supp. 2d at 528
(same). The government always bears the burden of justifying good cause for a restriction on
discovery. Johnson, 314 F. Supp. 3d at 257.




3
  This Application seeks to share both DM and SDM documents with Ms. Meng and her U.S.
counsel. The Protective Order contemplates that Huawei may share Discovery Materials,
including SDM, with a prospective witness or company official in connection with defending the
case. See supra at 1, 3-4. Ms. Meng is both a prospective witness and a relevant company official.
While SDM cannot normally be shown to witnesses or officials outside the United States, Ms.
Meng is under house arrest in Canada. There is no meaningfully greater security risk as between
sharing in the United States and in Canada, particularly given Ms. Meng’s confinement and the
terms of the SPO, which further severely restrict dissemination of information.
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       B. Huawei Has A Significant Need To Discuss Discovery Materials With Ms. Meng.

        Huawei has a straightforward, and constitutionally protected, need to discuss the discovery
with Ms. Meng. As related above, the government’s Indictment rests in substantial part on
allegations that Huawei conspired with or otherwise acted with Ms. Meng in carrying out
fraudulent schemes over the course of a decade. It similarly appears to rest on the theory that
Huawei is vicariously liable for Ms. Meng’s conduct on the company’s behalf.

       Huawei cannot have a “meaningful opportunity” to test the evidence speaking to these
charges without discussing that evidence with Ms. Meng. Fishenko, 2014 WL 5587191, at *1
(quoting Hawkins v. Costello, 460 F.3d 238, 243 (2d Cir. 2006)). To take just one example, the
government asserts that Huawei is guilty of fraud because in 2013 Ms. Meng, in her capacity as
CFO, presented a PowerPoint deck to HSBC that misled the bank about the relationship between
Huawei and Skycom. But the discovery reveals


              . It is essential in preparing its defense that Huawei be able to discuss that evidence
with Ms. Meng; to develop further the context of the allegedly misleading representations; and
more generally to use the evidence to explore her recollections about Huawei’s interactions with
HSBC and other banks.

        The government may respond that it has no objection to Ms. Meng discussing the case with
Huawei, only to her seeing the evidence. But that is no substitute. This is not a trial about a
discrete event or relationship that any witness could easily recall; it is a trial about an alleged raft
of conspiracies beginning in 1999 and involving one of the world’s largest companies, multiple
international banks, and already nearly one million documents. To hold that Huawei cannot
discuss the government’s actual evidence with a witness would violate Huawei’s “due process
right to prepare and present a full defense” by effectively depriving the company of any
opportunity to realistically discuss the facts. Lindh, 198 F. Supp. 2d at 742.

       C. The Government Cannot Establish Good Cause To Bar Huawei From Discussing
          Discovery Materials With Ms. Meng.

        The reason for the government’s attempt to prevent Huawei from discussing the evidence
with Ms. Meng is no secret, and it does not remotely establish the “good cause” required under the
law to impose a blanket ban on Huawei discussing more than             of the Discovery Materials
with a witness at the heart of the case.

       The government has taken the position that it is improper for Huawei to discuss the
discovery with Ms. Meng because Ms. Meng is challenging the authority of the United States to
bring her across the Canadian border to New York for trial. That argument misses the point.
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Huawei’s request to discuss the evidence is not premised on Ms. Meng’s right to see that evidence;
it is premised on Huawei’s rights as a criminal defendant. Nothing about Ms. Meng’s decision to
challenge her extradition in Canadian court bears any relation to Huawei’s right to mount a defense
in U.S. federal court. Put differently, Ms. Meng’s decision to exercise her rights is not “good
cause” to compromise Huawei’s rights. Huawei has the independent right to prepare its defense
wholly apart from the government’s dispute with Ms. Meng. Lindh, 198 F. Supp. 2d at 741-42
(good cause inquiry “must take account of the impact [discovery restrictions] might have on a
defendant’s due process right to prepare and present a full defense at trial” (emphasis added)).

        To the extent that the government’s concern is that Ms. Meng will misuse the discovery to
advance her extradition case, that concern is even more ill-founded. For one thing, it is strange to
hear the government argue that its case for extradition would be weakened if the Canadian courts
learned of the discovery that the government seeks to bar Huawei from sharing. One would expect
that the relevant evidence has already been provided to the Canadian government in furtherance
of the Justice Department’s treaty obligations and Ms. Meng’s Canadian constitutional rights.

        But more importantly, the government’s concerns are beside the point, because Huawei
and Ms. Meng have already agreed in the SPO to stringent conditions that would preclude any use
of the discovery in the Canadian extradition proceedings. The SPO includes a bar on Ms. Meng
retaining any Discovery Materials or work product; a bar on the use of Discovery Materials in the
extradition proceeding; a bar on discussing the Discovery Materials with any other third party,
including Ms. Meng’s Canadian counsel; and a requirement that Huawei, Ms. Meng, and her U.S.
counsel all certify that they will abide by those restrictions. See supra at 4. To the extent that the
Court permits Huawei to discuss the discovery with Ms. Meng as a general matter, it can simply
adopt those same procedural restrictions as a framework.

                                                 ***

       The government has not come close to establishing the good cause needed to restrict
Huawei’s discussion of discovery with Ms. Meng. This Court should therefore hold that Huawei
may share the discovery with Ms. Meng, and if necessary, condition such sharing on the same
terms that Agreed Discovery Materials may be shared under the SPO.
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       Respectfully submitted,


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